
254 S.W.3d 915 (2008)
In the Interest of P.A.M., S.D.M., M.A.W., and J.W.M.
Juvenile Officer of St. Charles County, Petitioner/Respondent,
A.V., Respondent, and
C.D.M., Respondent/Appellant.
No. ED 90573.
Missouri Court of Appeals, Eastern District, Division One.
June 10, 2008.
John J. Smith, St. Charles, MO, for respondent Juvenile Officer of St. Charles County.
Emily N. Kaiser, St. Charles, MO, for appellant C.D.M.
Jennifer K. Suits, St. Louis, MO, Guardian Ad Litem.
Before KATHIANNE KNAUP CRANE, P.J., ROBERT G. DOWD, JR., J., and KENNETH M. ROMINES, J.

ORDER
Father appeals from the trial court's judgments terminating his parental rights to his four minor children pursuant to section 211.447 RSMo (2000). The judgments are supported by substantial evidence and are not against the weight of the evidence. No error of law appears. Murphy v. Carron, 536 S.W.2d 30, 32 (Mo. banc 1976).
An opinion reciting the detailed facts and restating the principles of law would have no precedential value. The parties have been furnished with a memorandum opinion, for their information only, setting forth the facts and reasons for this order.
The judgments are affirmed in accordance with Rule 84.16(b). The Juvenile Officer's motion to transfer to the Supreme Court is denied.
